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AO 245B (Mod. D/NJ 12/06) Sheet 1 - Judgment in a Criminal Case




                                                           UNITED STATES DISTRICT COURT
                                                                 District of New Jersey


  UNITED STATES OF AMERICA

              v.                                                            CASE NUMBER      2:19-CR-00770-SDW-1
 ANKUR AGARWAL

            Defendant.


                                                          JUDGMENT IN A CRIMINAL CASE
                                               (For Offenses Committed On or After November 1, 1987)


            The defendant, ANKUR AGARWAL, was represented by SAMUEL M. BRAVERMAN, ESQ. (Retained).

The defendant pleaded guilty to count(s) 1, 2, 3 of the INFORMATION on 10/22/2019.                     Accordingly, the court has
adjudicated that the defendant is guilty of the following offense(s):

                                                                                                                   Count
 Title & Section                 Nature of Offense                                            Date of Offense      Number(s)

 18:1030 AND                     OBTAINING  INFORMATION               FROM     PROTECTED      2/2017-4/2018        1
 1028A                           COMPUTERS -COMPANY ONE

 18:1030 AND                     OBTAINING INFORMATION FROM PROTECTED                         2/2017-4/2018        2
 1028A                           COMPUTERS -COMPANY TWO

 18:1030 AND                     AGGRAVATED IDENTITY THEFT                                    5/2017               3
 1028A


       As pronounced on September 01, 2020, the defendant is sentenced as provided in pages 2 through 8 of this
judgment. The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

       It is ordered that the defendant must pay to the United States a special assessment of $300.00 for count(s) 1, 2, 3,
which shall be due immediately. Said special assessment shall be made payable to the Clerk, U.S. District Court.

        It is further ordered that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of any
material change in economic circumstances.

            Signed this 3rd day of September, 2020.


                                                                             s/Susan D. Wigenton
                                                                             Susan D. Wigenton
                                                                             U.S. District Judge




07058
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AO 245B (Mod. D/NJ 12/06) Sheet 2 - Imprisonment


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                                                         IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
term of 94 months. This term consists of a term of 35 months on Count One, 35 months on Count Two, and 24 months on
Count 3, all to be served consecutively to each other, to the extent necessary to produce a total term of 94 months.

            The defendant will surrender for service of sentence at the institution designated by the Bureau of Prisons .




                                                             RETURN

      I have executed this Judgment as follows:
_________________________________________________________________________________________________
_________________________________________________________________________________________________
_________________________________________________________________________________________________
_________________________________________________________________________________________________

            Defendant delivered on                                       To ________________________________________
 At                                                                         , with a certified copy of this Judgment.


                                                                                 __________________________
                                                                                    United States Marshal

                                                                                 By _________________________
                                                                                      Deputy Marshal
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AO 245B (Mod. D/NJ 12/06) Sheet 3 - Supervised Release


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                                                         SUPERVISED RELEASE
        Upon release from imprisonment, you will be on supervised release for a term of 3 years. This term consists of 3
years on each of Counts One and Two and a term of 1 year on Count 3, all such terms to run concurrently.

         Within 72 hours of release from custody of the Bureau of Prisons, you must report in person to the Probation Office
in the district to which you are released.

         While on supervised release, you must not commit another federal, state, or local crime, must refrain from any
unlawful use of a controlled substance and must comply with the mandatory and standard conditions that have been adopted
by this court as set forth below.

       Based on information presented, you are excused from the mandatory drug testing provision, however, you may be
requested to submit to drug testing during the period of supervision if the probation officer determines a risk of substance
abuse.

            You must cooperate in the collection of DNA as directed by the probation officer

        If this judgment imposes a fine, special assessment, costs, or restitution obligation, it is a condition of supervised
release that you pay any such fine, assessments, costs, and restitution that remains unpaid at the commencement of the
term of supervised release.

            You must comply with the following special conditions:

            COMPUTER MONITORING

            You must submit to an initial inspection by the U.S. Probation Office, and to any unannounced examinations during
            supervision, of your computer equipment. This includes, but is not limited to, personal computers, personal digital
            assistants, entertainment consoles, cellular telephones, and/or any electronic media device which is owned or
            accessed by you. You must allow the installation on your computer of any hardware or software systems which
            monitor computer use. You must pay the cost of the computer monitoring program. You must abide by the standard
            conditions of computer monitoring. Any dispute as to the applicability of this condition will be decided by the Court.

            FINANCIAL DISCLOSURE

            Upon request, you must provide the U.S. Probation Office with full disclosure of your financial records, including co-
            mingled income, expenses, assets and liabilities, to include yearly income tax returns. With the exception of the
            financial accounts reported and noted within the presentence report, you are prohibited from maintaining and/or
            opening any additional individual and/or joint checking, savings, or other financial accounts, for either personal or
            business purposes, without the knowledge and approval of the U.S. Probation Office. You must cooperate with the
            U.S. Probation Officer in the investigation of your financial dealings and must provide truthful monthly statements
            of your income. You must cooperate in the signing of any authorization to release information forms permitting the
            U.S. Probation Office access to your financial records.

            MENTAL HEALTH TREATMENT

            You must undergo treatment in a mental health program approved by the U.S. Probation Office until discharged by
            the Court. As necessary, said treatment may also encompass treatment for gambling, domestic violence and/or
            anger management, as approved by the U.S. Probation Office, until discharged by the Court. The U.S. Probation
            Office will supervise your compliance with this condition.

            NEW DEBT RESTRICTIONS

            You are prohibited from incurring any new credit charges, opening additional lines of credit, or incurring any new
            monetary loan, obligation, or debt, by whatever name known, without the approval of the U.S. Probation Office. You
            must not encumber or liquidate interest in any assets unless it is in direct service of the fine and/or restitution
            obligation or otherwise has the expressed approval of the Court.
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            SELF-EMPLOYMENT/BUSINESS DISCLOSURE

            You must cooperate with the U.S. Probation Office in the investigation and approval of any position of self-
            employment, including any independent, entrepreneurial, or freelance employment or business activity. If approved
            for self-employment, you must provide the U.S. Probation Office with full disclosure of your self-employment and
            other business records, including, but not limited to, all of the records identified in the Probation Form 48F (Request
            for Self Employment Records), or as otherwise requested by the U.S. Probation Office.
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AO 245B (Mod. D/NJ 12/06) Sheet 3a - Supervised Release


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                                                 STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions
are imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum
tools needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct
and condition.


1) You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours
   of your release from imprisonment, unless the probation officer instructs you to report to a different probation office or
   within a different time frame.

2) After initially reporting to the probation office, you will receive instructions from the court or the probation officer about
   how and when you must report to the probation officer, and you must report to the probation officer as instructed.

3) You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
   permission from the court or the probation officer.

4) You must answer truthfully the questions asked by your probation officer.

5) You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
   living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
   change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify
   the probation officer within 72 hours of becoming aware of a change or expected change.

6) You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
   probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain
   view.

7) You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
   excuses you from doing so. If you do not have fulltime employment you must try to find full-time employment, unless
   the probation officer excuses you from doing so. If you plan to change where you work or anything about your work
   (such as your position or your job responsibilities), you must notify the probation officer at least 10 days before the
   change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated
   circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected
   change.

8) You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone
   has been convicted of a felony, you must not knowingly communicate or interact with that person without first getting
   the permission of the probation officer.

9) If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10) You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e..
    anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another
    person such as nunchakus or tasers).

11) You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
    informant without first getting the permission of the court.

12) If the probation officer determines that you pose a risk to another person (including an organization), the probation
    officer may require you to notify the person about the risk and you must comply with that instruction. The probation
    officer may contact the person and confirm that you have notified the person about the risk.
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                                                 STANDARD CONDITIONS OF SUPERVISION
13) You must follow the instructions of the probation officer related to the conditions of supervision.




                                                          For Official Use Only - - - U.S. Probation Office

   Upon a finding of a violation of probation or supervised release, I understand that the Court may (1) revoke supervision
or (2) extend the term of supervision and/or modify the conditions of supervision.

    These conditions have been read to me. I fully understand the conditions, and have been provided a copy of them.

  You shall carry out all rules, in addition to the above, as prescribed by the Chief U.S. Probation Officer, or any of his
associate Probation Officers.

                                     (Signed)_____________________________________________________________________
                                                          Defendant                                Date


                                                 _____________________________________________________________________
                                                     U.S. Probation Officer/Designated Witness         Date
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AO 245B (Mod. D/NJ 12/06) Sheet 5 - Fine


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                                                                   FINE
            The defendant shall pay a fine of $25,000.00.

       This fine, plus any interest pursuant to 18 U.S.C. § 3612(f)(1), is due immediately and shall be paid in full by
10/3/2020.




       If the fine is not paid, the court may sentence the defendant to any sentence which might have been originally
imposed. See 18 U.S.C. § 3614.

        Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

         Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4)
fine principal, (5) fine interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost
of prosecution and court costs.
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AO 245B (Mod. D/NJ 12/06) Sheet 6 - Restitution and Forfeiture


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                                                                 RESTITUTION AND FORFEITURE


                                                                        FORFEITURE

             The defendant is ordered to forfeit the following property to the United States:

         Judgment and Preliminary Order of Forfeiture as to Specific Property (Final as to the Defendant) to be submitted
and filed separately.




        Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

         Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4)
fine principal, (5) fine interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost
of prosecution and court costs.
